AO 93C () :DUUDQWE\7HOHSKRQHRU2WKHU5HOLDEOH(OHFWURQLF0HDQV               u Original                 u Duplicate Original


                                           UNITED STATES DISTRICT COURT
                                                                         for the
                                                             Eastern District
                                                          __________  DistrictofofWisconsin
                                                                                   __________

                    In the Matter of the 8VH of                             )
             (Briefly describe the property to be searched                  )
              or identify the person by name and address)                   )      Case No. 22-952M(NJ)
      A Cell-Site Simulator to Locate the cellular device                   )
          assigned phone number 262-483-4145.                               )
                                                                            )

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To:       Any authorized law enforcement officer
           An application by a federal law enforcement officer or an attorney for the government requests the searchDQGVHL]XUH
of the following person or property located in the                         Eastern   District of            Wisconsin
(identify the person or describe the property to be searched and give its location):
  See Attachment A




        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):
  See Attachment B




        YOU ARE COMMANDED to execute this warrant on or before 8/26/2022                               (not to exceed 14 days)
      u in the daytime 6:00 a.m. to 10:00 p.m. ✔
                                               u at any time in the day or night because good cause has been established.

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to                          Nancy Joseph                       .
                                                                                                  (United States Magistrate Judge)

     u Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
     ux for 30 days (not to exceed 30) u until, the facts justifying, g, thee llater
                                                                                ater specific date off                                 .


Date and time issued:           8/12/2022 @ 6:43 p.m.
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City and state: Milwaukee, WI                                                             Nancy
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                                                                                                        Printed name and title
                             Case 2:22-mj-00952-NJ Filed 08/12/22 Page 1 of 20 Document 1
AO 93& () :DUUDQWE\7HOHSKRQHRU2WKHU5HOLDEOH(OHFWURQLF0HDQV(Page 2)

                                                                             Return
Case No.:                                Date and time warrant executed:                 Copy of warrant and inventory left with:

Inventory made in the presence of :

Inventory of the property taken and name V of any person(s) seized:




                                                                         Certification


        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date:
                                                                                                Executing officer’s signature


                                                                                                   Printed name and title




                             Case 2:22-mj-00952-NJ Filed 08/12/22 Page 2 of 20 Document 1
                                 ATTACHMENT A
                                Property to Be Searched


      This warrant authorizes the use of the electronic investigative technique

described in Attachment B to identify the location of the cellular device assigned phone

number (262) 483-4145, whose wireless provider is US Cellular, and whose listed

subscriber is “Unknown.”




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                                      ATTACHMENT B


                                Particular Things to Be Seized
                   with a Cell Site Simulator or Wi-Fi Geolocation Device

       This Warrant authorizes the officers to whom it is directed to determine the location of

the target cellular device by collecting and examining:


   1. radio signals emitted by the target cellular device for the purpose of communicating with

       cellular infrastructure, including towers that route and connect individual

       communications; and

   2. radio signals emitted by the target cellular device in response to signals sent to it by the

       officers;


for a period of thirty (30) days, during all times of day and night. This includes monitoring non-

content signaling and routing information, including all non-content packet switched data,

through the installation and use of a pen register and trap and trace device pursuant to 18 U.S.C.

§ 3123 by the Federal Bureau of Investigation. Because the use of the device, a Cell Site

Simulator or Wi-Fi geolocation device, may fall within the definitions of a “pen register” or a

“trap and trace device,” see 18 U.S.C. § 3127(3) & (4), the application and the warrant are

designed to comply with the Pen Register Statute as well as Rule 41. The application therefore

includes all information required for and serves as a pen register application, 18 U.S.C.

§ 3123(a); similarly, the warrant therefore includes all the information required for and serves as

a pen register order, 18 U.S.C. § 3123(b).


       This warrant does not authorize the interception of any content (telephone, text message,

or internet based). The investigative device may interrupt cellular service of phones or other

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cellular devices within its immediate vicinity. Any service disruption to non-target devices will

be brief and temporary, and all operations will attempt to limit the interference with such

devices. In order to connect with the Target Cellular Device, the device may briefly exchange

signals with all phones or other cellular devices in its vicinity. These signals may include cell

phone identifiers. The device will not complete a connection with cellular devices determined

not to be the Target Cellular Device, and law enforcement will limit collection of information

from devices other than the Target Cellular Device. To the extent that any information from a

cellular device other than the Target Cellular Device is collected by the law enforcement device,

law enforcement will delete that information, and law enforcement will make no investigative

use of it absent further order of the court, other than distinguishing the Target Cellular Device

from all other cellular devices.


       Under this warrant, the cell site simulator / geolocation device shall be transferable to any

changed dialed number subsequently assigned to a device bearing the same ESN, IMSI, or SIM

as the Target Cellular Device; any changed ESN, IMSI, or SIM subsequently assigned the same

dialed number as the Target Cellular Device; or any additional changed dialed number, ESN,

IMSI, or SIM listed to the same subscriber account as the Target Cellular Device.

       The Court finds reasonable necessity for use of the techniques and collection of

information described. See 18 U.S.C. § 3103a(b)(2).


       This warrant does not authorize the seizure of any tangible property. In approving this

warrant, the Court finds reasonable necessity for the seizure of the information described. See 18

U.S.C. § 3103a(b)(2).




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                             AFFIDAVIT IN SUPPORT OF
                      AN APPLICATION FOR A SEARCH WARRANT

       I, William Scott. Livingstone, being first duly sworn, hereby depose and state as follows:


                           INTRODUCTION AND BACKGROUND


       1.      I make this affidavit in support of an application for a search warrant under

Federal Rule of Criminal Procedure 41 and 18 U.S.C. § 2703(c) to authorize law enforcement to

employ electronic investigative techniques, as described in the following attachment, to

determine the location of the target cellular device assigned dialed number 262-483-4145, with

IMEI Number 35645110132988 referred to in this affidavit as the “Target Cellular Device.” The

service provider for the target cellular device is US Cellular. This affidavit is made in support of

up to two different search warrants to locate the phone: 1) by obtaining information from the

service provider, e.g., cell site and other precision location information and/or 2) by utilizing a

device that acts as a cell phone tower sometimes referred to as a Cell Site Simulator or Wi-Fi

geolocation device. In addition, because this request may be construed as a Pen Register / Trap

and Trace device or request, the application for this warrant (which includes this affidavit) is

intended to comply with 18 U.S.C. § 3122.


       2.      I am as Special Agent of the Federal Bureau of Investigation (FBI) and have been

so employed since September 2019. I am currently assigned to the FBI El Paso Division-

Midland Resident Agency (MRA), where I investigate national security and criminal matters. I

have experience investigating violent crimes against children, bank robberies, civil rights

violations, counterterrorism as well as other criminals and national security matters. I also have

experience with the use of cellular devices to commit those offenses and the available technology
                                                  1



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that can be used by law enforcement to assist in identifying the users of cellular devices and their

location.


          3.      The facts in this affidavit come from my personal observations, training,

experience, and information obtained from other agents, law enforcement officers and witnesses

involved in this investigation. This affidavit is intended to show merely that there is sufficient

probable cause for the requested warrant and does not set forth all of my knowledge about this

matter.


          4.      There is reason to believe the Target Cellular Device is currently located in this

district. The subscriber information associated with the cell phone plan in which the Target

Cellular Device is a part of, is associated with a residence in Belgium, Wisconsin. The two

individuals named as Primary and Authorized Contacts for the cell phone plan are known to

reside in Belgium, Wisconsin; and through checks of databases used by law enforcement are

known to be employed in the Eastern District of Wisconsin. Therefore, it is believed that the cell

phones on the plan will be located in the Eastern District of Wisconsin.


          5.      Based on the facts set forth in this affidavit, there is probable cause to believe that

the Subject is using the Target Cellular Device. I know from training and experience that cell

phone users normally have their cell phones with them, so locating a user’s cell phone will show

that user’s location. I believe that locating the Target Cellular Device will constitute and lead to

evidence of federal offenses, namely 18 U.S.C. Sections 2251(a), (a)(2), and 2252(a)(5)(B),

attempted production of child pornography, production of child pornography, and possession of

child pornography committed by the Subject.



                                                     2



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                                          PROBABLE CAUSE


       6.      On or about July 23, 2022, Minor Victim’s parent, Witness 1, contacted the

Odessa Police Department to advise that Minor Victim, a nine (9) year old girl, was exchanging

explicit images with an unknown party online. Witness 1 signed a consent to search form which

allowed law enforcement to review Minor Victim’s cell phone.


       7.      The Odessa Police Officer (“the Officer”) who responded to the call from Witness

1, wrote in the police report memorializing the incident that the Officer observed several

messages from phone number 262-483-4145, the Target Cellular Device, where the user of the

Target Cellular Device was asking Minor Victim to send photos of her breast and vagina.

According to the police report the user of the Target Cellular Device told Minor Victim “I wanna

see your boobs” and “send me a pic of your pussy.” The Officer saw that Minor Victim sent

photos of her breast and vagina in sexually explicit positions as well as explicit videos of herself

to the Target Cellular Device.


       8.      Witness 1 told the Officer that Witness 1 originally discovered the explicit

conversation between Minor Victim and the Target Cellular Device when Minor Victim received

a text message from a number that was not programmed into Minor Victim’s phone. Witness 1

opened the text message from the Target Cellular Device, and then scrolled through the

conversation between Minor Victim and the Target Cellular Device. Witness 1 then saw photos

of Minor Victim’s anus and vagina that Minor Victim had sent to the Target Cellular Device

when the user of the Target Cellular Device requested photos. Minor Victim told Witness 1 that

the user of the Target Cellular Device made Minor Victim send the photos.



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       9.      While the Officer was interviewing Witness 1, Minor Victim’s phone continued

to receive text messages from the Target Cellular Device. The user of the Target Cellular Device

texted multiple times, but when no response from Minor Victim’s phone was sent the user then

stated that the user was going to post the video online. This was presumed to mean the explicit

videos sent to the user of the Target Cellular Device by Minor Victim.


       10.     On or about August 4, 2022, Odessa Police Department turned Minor Victim’s

cell phone over to the FBI for forensic analysis.


       11.     On or about August 8, 2022, I conducted a manual review of Minor Victim’s cell

phone. I made the following observations from the conversation between Minor Victim and the

user of the Target Cellular Device, which occurred on or about July 22, 2022, and July 23, 2022,

at the approximate times listed:


                   a. 10:12 PM, the user of the Target Cellular Device asked Minor Victim if
                      the user of the Target Cellular Device could see her "pussy". She
                      responded by saying no, that she was with her mom. The user of the
                      Target Cellular Device then asked when Minor Victim could show the
                      user of the Target Cellular Device and if she was near a bathroom. She
                      asked why and the user of the Target Cellular Device said so you can
                      show me your "pussy". Minor Victim then agreed and sent one picture of
                      her vagina, asking if the picture was good. The user of the Target Cellular
                      Device replied saying "more. More pictures."
                   b. Minor Victim asked of what and the user of the Target Cellular Device
                      responded by saying "ass boobs and pussy". Minor Victim then sent a
                      picture, squatting over her phone with her pants and panties removed and
                      shirt pulled up, exposing her breasts, stating, "here is my pussy and boobs"
                      and a separate photo of her bending over, exposing her vagina and anus
                      and asking "is this good?"
                   c. The user of the Target Cellular Device then asked her to finger her
                      pussy. Minor Victim agreed but would have to do it fast. UNSUB replied
                      saying "Send video. Come on." Minor Victim then sent a 44 second video
                      of her rubbing her vagina and digitally penetrating herself.

                                                    4



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      d. The user of the Target Cellular Device then asked Minor Victim to moan
         at which Minor Victim declined. The user of the Target Cellular Device
         stated that he was "hard now". Minor Victim then said "one more thing
         before I put on my pants." the user of the Target Cellular Device said for
         her to finger once more. Minor Victim then sent a 33 second video of
         her rubbing her vagina and digitally penetrating herself. Minor Victim
         then asked "is this good?"
      e. The user of the Target Cellular Device then asked "can you put your
         whole fist in your pussy?" Minor Victim said she could not at which point
         the user of the Target Cellular Device asked for her to please try. Minor
         Victim said she could not and if four fingers would not fit then her whole
         fist would not fit. The user of the Target Cellular Device then agreed that
         she could use three fingers. Minor Victim agreed and the user of the
         Target Cellular Device said "ok. Come on." Minor Victim then sent a 33
         second video of her digitally penetrating herself with three fingers.
      f. The user of the Target Cellular Device then asked for Minor Victim to spit
         in her pussy which Minor Victim declined saying only a pic. the user of
         the Target Cellular Device then asked for a picture of spit on her pussy
         which Minor Victim said anything else except that. the user of the Target
         Cellular Device requested a video of Minor Victim spanking her
         ass. Minor Victim declined saying she could not as it would be too
         loud. Minor Victim then sent a 1 min and 47 second video of her shaking
         her buttocks.
      g. The user of the Target Cellular Device then told Minor Victim that he
         loved her. Minor Victim responded that they are not together but the user
         of the Target Cellular Device begged, saying "please". Minor Victim
         responded "ok fine. I love u too." The user of the Target Cellular Device
         then asked if she actually did and Minor Victim said yes. The user of the
         Target Cellular Device then asked Minor Victim not to block him and
         Minor Victim agreed not to.
      h. At 11:25 PM, the user of the Target Cellular Device asked if he could see
         her pussy. Minor Victim said he could see it the next day because it was
         dark. The user of the Target Cellular Device then asked for a picture of
         her boobs at which point Minor Victim responded with a picture of her left
         breast, edited with a heart drawn around it and her face marked out. the
         user of the Target Cellular Device asked for a picture of her face, but
         Minor Victim declined saying that she did not look good at the
         moment. The user of the Target Cellular Device then told her that he
         thinks she always looked beautiful. Minor Victim responded, stating "ok
         fine. You caught me, I am 9 years old."
      i. The user of the Target Cellular Device then asked, "are you really?" at
         which Minor Victim confirmed, "yes sorry". The user of the Target
                                  5



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                       Cellular Device asked "are we still dating" with Minor Victim asking if he
                       still wanted to at which the user of the Target Cellular Device said
                       yes. The user of the Target Cellular Device then asked for a picture of her
                       beautiful face, but Minor Victim declined. The user of the Target Cellular
                       Device said he had to go to bed and that he loved her. Minor Victim
                       replied that she loved him too and sent a picture of her vagina. Minor
                       Victim asked if he wanted anymore pictures before he went to sleep. The
                       user of the Target Cellular Device requested a picture of her ass at which
                       point Minor Victim sent a picture of her anus.
                   j. On 7/23/2022, the user of the Target Cellular Device sent Minor Victim
                      multiple messages asking if she could do a video, to please answer him
                      and how she was doing with no response. The user of the Target Cellular
                      Device also asked if he could see her boobs. At 3:22 PM, the user of the
                      Target Cellular Device stated "the video are being posted."
       12.     On or about August 9, 2022 US Cellular responded to an administrative subpoena,

served by an FBI analyst, regarding the Target Cellular Device. The provided information

showed that the Target Cellular Device was listed as “ACTIVE,” with an activation date of

November 23, 2018. The Target Cellular Device’s listed current IMEI number was

35645110132988. The Target Cellular Device was described as a Smartphone, Apple iPhone

XR. The billing and primary addresses for the cell phone account were in Belgium, Wisconsin.


       13.     There were five cell phone numbers listed with this account, there were no names

listed as users of the individual numbers. There were two individuals listed as contacts for the

account. This indicates that there are likely three other unnamed individuals using the cell

phones associated with this account. Therefore, knowing the location of the device will help law

enforcement identify the user of the Target Cellular Device.


       14.     Through the observations of law enforcement officers, and the statements of

Witness 1 there is probable cause to believe that the Target Cellular Device was used to facilitate

the enticement of a minor into producing images and videos consistent with child pornography.


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         15.   Through my training and experience I know that if a subject solicits one victim

for sexually explicit images and videos it is likely that the subject is also soliciting other victims.

Therefore, there is probable cause to believe that the Target Cellular Device will contain further

messages and/or images with other victims which are further evidence of violations of federal

law as described in paragraphs above.


         16.   Through my training and experience I know that a subject typically keeps their

cell phone on their person. Therefore, by locating the Target Cellular Device law enforcement

will most likely locate the user of the Target Cellular Device who committed the acts described

above.


         17.   Information obtained from this search warrant will be used to attempt to locate the

Subject within the next 30 days.


               AUTHORIZATION REQUEST & MANNER OF EXECUTION


         18.   I request that the Court issue the proposed search warrant pursuant to Federal

Rule of Criminal Procedure 41 and 18 U.S.C. §§ 2703(c) and 2711.


         19.   Because collecting the information authorized by this warrant may fall within the

statutory definitions of a “pen register” or a “trap and trace device,” see 18 U.S.C. § 3127(3) &

(4), this application and the accompanying warrant are intended to comply with requirements set

forth in 18 U.S.C. §§ 3122-3123.


         20.   In my training and experience, I have learned that cellular phones and other

cellular devices communicate wirelessly across a network of cellular infrastructure, including

towers that route and connect individual communications. When sending or receiving a
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communication, a cellular device broadcasts certain signals to the cellular tower that is routing

its communication. These signals include a cellular device’s unique identifiers.


       21.     In my training and experience, I have learned that US Cellular is a company with

its headquarters located within the United States and provides cellular telephone access to the

general public. I also know that providers of cellular telephone service have technical capabilities

that allow them to collect and generate information about the locations of cellular devices to

which they provide service. That information includes (1) E-911 Phase II data, also known as

GPS data or latitude-longitude data, (2) cell-site data, also known as “tower/face information” or

cell tower/sector records, and (3) timing advance or engineering data commonly referred to as

per call measurement data (RTT, True Call, LDBoR, or equivalent). E-911 Phase II data

provides relatively precise location information about the cellular telephone itself, either via GPS

tracking technology built into the phone or by triangulating on the device’s signal using data

from several of the provider’s cell towers. Cell-site data identifies the “cell towers” (i.e., antenna

towers covering specific geographic areas) that received a radio signal from the cellular

telephone and, in some cases, the “sector” (i.e., faces of the towers) to which the telephone

connected. These towers are often a half-mile or more apart, even in urban areas, and can be 10

or more miles apart in rural areas. Furthermore, the tower closest to a wireless device does not

necessarily serve every call made to or from that device.


       22.     To facilitate execution of this warrant, law enforcement may use an investigative

device or devices (sometimes referred to as a Cell Site Simulator or Wi-Fi geolocation device)

capable of broadcasting signals that will be received by the Target Cellular Device or receiving

signals from nearby cellular devices, including the Target Cellular Device. Such a device may

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function in some respects like a cellular tower, except that it will not be connected to the cellular

network and cannot be used by a cell phone to communicate with others. The device may send a

signal to the Target Cellular Device and thereby prompt it to send signals that include the unique

identifier of the device. Law enforcement may monitor the signals broadcast by the Target

Cellular Device and use that information to determine the Target Cellular Device’s location,

even if it is located inside a house, apartment, or other building.


       23.     The investigative device may interrupt cellular service of phones or other cellular

devices within its immediate vicinity. Any service disruption to non-target devices will be brief

and temporary, and all operations will attempt to limit the interference with such devices. In

order to connect with the Target Cellular Device, the device may briefly exchange signals with

all phones or other cellular devices in its vicinity. These signals may include cell phone

identifiers. The device will not complete a connection with cellular devices determined not to be

the Target Cellular Device, and law enforcement will limit collection of information from

devices other than the Target Cellular Device. To the extent that any information from a cellular

device other than the Target Cellular Device is collected by the law enforcement device, law

enforcement will delete that information, and law enforcement will make no investigative use of

it absent further order of the court, other than distinguishing the Target Cellular Device from all

other cellular devices.


       24.     I request, pursuant to 18 U.S.C. § 3103a(b) and Federal Rule of Criminal

Procedure 41(f)(3), that the Court authorize the officer executing the warrant to delay notice until

30 days after the collection authorized by the warrant has been completed. This delay is justified

because there is reasonable cause to believe that providing immediate notification of the warrant

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may have an adverse result as defined in 18 U.S.C. § 2705. Providing immediate notice to the

subscriber or user of the target cellular device would seriously jeopardize the ongoing

investigation. Such disclosure would give that person an opportunity to destroy evidence, change

patterns of behavior, notify confederates, and flee from prosecution. See 18 U.S.C. §

3103a(b)(1). There is a reasonable necessity for the use of the techniques described. See 18

U.S.C. § 3103a(b)(2). As further specified in the attachment, which is incorporated into the

warrant, the proposed search warrant does not authorize the seizure of any tangible property. See

18 U.S.C. § 3103a(b)(2). Moreover, to the extent that the warrant authorizes the seizure of any

wire or electronic communication (as defined in 18 U.S.C. § 2510) or any stored wire or

electronic information, there is a reasonable necessity for that seizure. See 18 U.S.C. §

3103a(b)(2).


        25.    I further request the following information from the service provider: the

installation and use of a pen register trap and trace device, all real-time precision location

information, including E-911 Phase II data, GPS data, and latitude-longitude data, real time cell

site information, and per call measurement or timing advance data (RTT, True Call, LDBoR, or

equivalent) continuing for 30 days from the date the warrant is issued.


        26.    I further request call detail records and data reports (voice, SMS, MMS),

including cell site and sector location information, originating and destination IP addresses, per

call measurement or timing advance data (RTT, True Call, LDBoR, or equivalent) for the past 30

days.




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         27.     I further request subscriber and extended subscriber information, handset

identifiers, handset make and model, Wi-Fi MAC address, and account notes and memos for the

target device.


         28.     I further request that the Court authorize execution of the warrant at any time of

day or night, owing to the potential need to locate the target cellular device outside of daytime

hours.


         29.     I further request that the pen register / trap and trace device be transferable to any

changed dialed number subsequently assigned to a device bearing the same ESN, IMSI, or SIM

as the Target Cellular Device; any changed ESN, IMSI, or SIM subsequently assigned the same

dialed number as the Target Cellular Device; or any additional changed dialed number, ESN,

IMSI, or SIM listed to the same subscriber account as the Target Cellular Device.


         30.     I further request that the Court order all documents in support of this application,

including the affidavit and search warrant, be sealed until further order by the Court. These

documents discuss an ongoing criminal investigation that is neither public nor known to all of

the targets of the investigation. Accordingly, there is good cause to seal these documents because

their premature disclosure may seriously jeopardize the investigation. I further request that the

Court order any service provider, or their representatives, not to disclose the existence of this

warrant or investigation unless ordered to do so by the Court.


         31.     A search warrant may not be legally necessary to authorize all of the investigative

techniques described. Nevertheless, I submit this warrant application out of an abundance of

caution.


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                                 ATTACHMENT A
                                Property to Be Searched


      This warrant authorizes the use of the electronic investigative technique

described in Attachment B to identify the location of the cellular device assigned phone

number (262) 483-4145, whose wireless provider is US Cellular, and whose listed

subscriber is “Unknown.”




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                                      ATTACHMENT B


                                Particular Things to Be Seized
                   with a Cell Site Simulator or Wi-Fi Geolocation Device

       This Warrant authorizes the officers to whom it is directed to determine the location of

the target cellular device by collecting and examining:


   1. radio signals emitted by the target cellular device for the purpose of communicating with

       cellular infrastructure, including towers that route and connect individual

       communications; and

   2. radio signals emitted by the target cellular device in response to signals sent to it by the

       officers;


for a period of thirty (30) days, during all times of day and night. This includes monitoring non-

content signaling and routing information, including all non-content packet switched data,

through the installation and use of a pen register and trap and trace device pursuant to 18 U.S.C.

§ 3123 by the Federal Bureau of Investigation. Because the use of the device, a Cell Site

Simulator or Wi-Fi geolocation device, may fall within the definitions of a “pen register” or a

“trap and trace device,” see 18 U.S.C. § 3127(3) & (4), the application and the warrant are

designed to comply with the Pen Register Statute as well as Rule 41. The application therefore

includes all information required for and serves as a pen register application, 18 U.S.C.

§ 3123(a); similarly, the warrant therefore includes all the information required for and serves as

a pen register order, 18 U.S.C. § 3123(b).


       This warrant does not authorize the interception of any content (telephone, text message,

or internet based). The investigative device may interrupt cellular service of phones or other

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cellular devices within its immediate vicinity. Any service disruption to non-target devices will

be brief and temporary, and all operations will attempt to limit the interference with such

devices. In order to connect with the Target Cellular Device, the device may briefly exchange

signals with all phones or other cellular devices in its vicinity. These signals may include cell

phone identifiers. The device will not complete a connection with cellular devices determined

not to be the Target Cellular Device, and law enforcement will limit collection of information

from devices other than the Target Cellular Device. To the extent that any information from a

cellular device other than the Target Cellular Device is collected by the law enforcement device,

law enforcement will delete that information, and law enforcement will make no investigative

use of it absent further order of the court, other than distinguishing the Target Cellular Device

from all other cellular devices.


       Under this warrant, the cell site simulator / geolocation device shall be transferable to any

changed dialed number subsequently assigned to a device bearing the same ESN, IMSI, or SIM

as the Target Cellular Device; any changed ESN, IMSI, or SIM subsequently assigned the same

dialed number as the Target Cellular Device; or any additional changed dialed number, ESN,

IMSI, or SIM listed to the same subscriber account as the Target Cellular Device.

       The Court finds reasonable necessity for use of the techniques and collection of

information described. See 18 U.S.C. § 3103a(b)(2).


       This warrant does not authorize the seizure of any tangible property. In approving this

warrant, the Court finds reasonable necessity for the seizure of the information described. See 18

U.S.C. § 3103a(b)(2).




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